995 F.2d 235
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Eric WALKER, Petitioner-Appellant,v.COMMISSIONER OF INTERNAL REVENUE SERVICE, Respondent-Appellee.
    No. 91-70760.
    United States Court of Appeals, Ninth Circuit.
    Submitted Jan. 6, 1993.*Decided June 10, 1993.
    
      Before:  REINHARDT, HALL, and LEAVY, Circuit Judges.
    
    
      1
      ORDER**
    
    
      2
      For the reasons stated in the Tax Court opinion, we AFFIRM.
    
    
      
        *
         This panel unanimously agrees that this case is appropriate for submission without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    